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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IOAN SAS,                                     )
Individually and on behalf of a class,        )
                                              )
                                              )
                        Plaintiff,            )       Honorable John J. Tharp, Jr.
                                              )
        vs.                                   )
                                              )
RESURGENCE LEGAL GROUP, PC                    )
and PALISADES COLLECTIONS, LLC,               )       Case No. 18cv1949
                                              )
                                              )
                        Defendants.           )

         PLAINTIFF’S MOTION TO APPROVE ATTORNEY FEES AND COSTS
        Plaintiff Ioan Sas, by and through his attorneys, The Law Office of M. Kris Kasalo, Ltd.,

respectfully moves this Court to enter an order approving reasonable attorney fees and costs

relating to obtaining an order on Plaintiff’s Motion to Compel, Dkt.#45. In support of this

motion, Plaintiff states:

        1.      This case is filed under the provisions of the Fair Debt Collection Practices Act

(“FDCPA”) and is based upon the mailing to Plaintiff of a collection letter by Resurgence Legal

Group, PC, on behalf of Palisades Collections, LLC. Plaintiff alleges the letter violates the

FDCPA because it seeks to collect a judgment that it does not refer to as a judgment but rather as

an “account”, but does not state that the amount is increasing daily due to interest, and/or that the

amount that is due at a future date will be greater than the amount due stated on the letter. The

letter thus runs afoul of the safe harbor provision set out in Miller v. McCalla, Raymer, Padrick,

Cobb, Nichols, & Clark, L.L.C., 214 F.3d 872 (7th Cir. 2000), and violates section 1692e of the

FDCPA; see also Avila v. Riexinger & Assocs., Ltd. Liab. Co., 817 F.3d 72, 74 (2d Cir. 2016)


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(holding that Section 1692e of the FDCPA requires debt collectors, when they notify consumers

of their account balance that is increasing, to disclose that the balance may increase due to

interest and fees.).

        2.      On September 17, 2018, Plaintiff served discovery requests upon Resurgence

Legal Group, PC (“Resurgence”), including Interrogatories, Requests to Admit and Requests to

Produce.

        3.      On November 5, 2018 Plaintiff’s counsel Mario Kasalo engaged in a discovery

conference with defense counsel Jeffrey Hansen regarding the tardy responses.

        4.       On the afternoon of November 5, 2018, Resurgence finally served its responses

and objections to Plaintiff’s requests to produce and interrogatories, but provided no documents

responsive to Plaintiff’s request to produce.

        5.      As a result of Defendant’s failure or refusal to provide responses, on November

13, 2018, counsel for Plaintiff Mario Kasalo again engaged in a second telephonic discovery

conference with Defendant’s attorney Jeff Hansen regarding the adequacy of Resurgence’s

discovery responses, and the documents that were still being withheld by Resurgence.

        6.      Despite repeated attempts to resolve differences as to the discovery responses

served by Resurgence, Resurgence refused to provide, in response to interrogatory requests

served by Plaintiff: the name of the entity that hired Resurgence to collect the debt and the

balance of the debt on various dates after the letter was mailed.

        7.       Similarly, Resurgence refused to provide, in response to production request

served by Plaintiff: a copy of the retainer agreement between itself and its client, electronic voice

recordings between Resurgence and Plaintiff/his attorneys that relate to the collection of the

alleged debt, written policies and procedures that it asserts were adapted to prevent the violations



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asserted, “Full, unredacted copies of the Assignment, forward flow agreement, Bill of Sale,

Credit Card Account Purchase Agreement and any other document that relates to the sale of the

“account” that is referenced in Exhibit A from First USA Bank, N.A. and/or Bank One,

Delaware NA, to Palisades Collection, LLC”, and each document that supports any affirmative

defense maintained by Resurgence.

       8.      Resurgence also refused to provide a certificate of service that accurately

provided the date upon which it served discovery responses, as the certificate of service it

provided to Plaintiff’s counsel, on November 5, 2018, falsely stated that it served its responses

on October 17, 2018.

       9.      On December 10, 2018, after being unable to resolve differences as to discovery

with counsel for Resurgence, Plaintiff filed his Motion to Compel, which consisted of 13 pages

plus Exhibits. (Dkt. #45).

       10.     On December 13, 2018, the parties appeared at a presentment hearing on

Plaintiff’s Motion, wherein defense counsel informed the Court that Defendant would respond in

writing to the Motion. (Dkt. #47).

       11.     On December 20, 2018, Defendant filed its Response to Plaintiff’s Motion to

Compel. (Dkt. #48).

       12.     Thereafter, Defendant filed a “corrected” Response to Plaintiff’s Motion to

Compel. (Dkt. #49).

       13.      On January 11, 2019, Plaintiff filed a Reply to Defendant’s Response to

Plaintiff’s Motion to Compel. (Dkt. #51).

       14.     On January 23, 2019, the Court held a hearing on Plaintiff’s Motion to Compel

and granted the relief sought by Plaintiff. Specifically, the Court ordered Defendant to provide



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the following information and documents that it found were discoverable: the name and contact

information of its client, the collection/retainer agreement between Resurgence and its client, the

purchase agreements, bills of sale, forward-flow agreements, etc. that relate to the purchase of

the alleged debt, telephonic recordings that relate to the debt collection, policies and procedures

that Defendant asserts are adapted to prevent the violations alleged, and documents that

Defendant asserts support its affirmative defenses. (Exhibit A, Transcript of hearing held on

January 23, 2019; Dkt. #53).

        15.    On January 23, 2019, the Court also granted Plaintiff’s motion for reasonable

attorney fees and costs associated with obtaining the Order on Plaintiff’s Motion to Compel.

(Dkt. #53).

       16.     As a prevailing party on a motion to compel, Plaintiff is entitled to recover

reasonable expenses and attorneys' fees incurred in obtaining the order under Rule 37(a)(5)(A),

which provides that if a motion to compel is granted, the Court must order the nonmoving party

to pay the movant's reasonable expenses incurred in making the motion. Fed. R. Civ. P.

37(a)(5)(A); Rickels v. City of S. Bend, Ind., 33 F.3d 785, 786 (7th Cir. 1994).

       17.     Plaintiff has incurred costs in the amount of $66.55, and attorney fees in the

amount of $10,290.00, for a total of 25.0 total attorney hours: 13.4 hours billed at an hourly rate

of $400.00 for attorney Kasalo’s work to December 31, 2018, and 11.6 hours billed an hourly

rate of $425.00 for work performed thereafter. (Exhibit B, Declaration of Mario Kasalo).

                  PLAINTIFF’S FEES AND COSTS ARE REASONABLE

A.     Plaintiff’s Counsel’s Hourly Rate is Reasonable

       18.     This court must first determine whether the hourly rates Plaintiff seeks for his

attorney is reasonable. The preferred method to determine a reasonable hourly rate is the



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attorney's actual billing rate for comparable work. Pickett v. Sheridan Health Care Ctr., 664 F.3d

632 (7th Cir. 2011). If the actual billing rate is difficult to ascertain, the "next best method" is for

this court to look to what other courts have previously awarded in fees in similar cases and to

consider affidavits from other attorneys in the relevant market of comparable skill, experience,

and reputation describing their hourly rates. Soleau v. Ill. Dep't of Transp., No. 09 CV 3582,

2011 U.S. Dist. LEXIS 64814, 2011 WL 2415008, at *2 (N.D. Ill. June 9, 2011). Once a fee

applicant presents sufficient evidence to demonstrate the reasonableness of his or her hourly rate,

the burden then shifts to the opposing party to present evidence that a lower rate is more

appropriate. Gautreaux v. Chi. Hous. Auth., 491 F.3d 649, 659-60 (7th Cir. 2007). If a fee

applicant fails to meet the burden of establishing his or her own market rate, this court has the

authority to independently set the reasonable hourly rate. Golden v. City of Chi., No. 13 CV

1477, 2015 U.S. Dist. LEXIS 189657, at *7-8 (N.D. Ill. Aug. 27, 2015).

        19.     “While each court should certainly arrive at its own determination as to a proper

fee, rates awarded in similar cases are clearly evidence of an attorney's market rate.” People Who

Care v. Rockford Bd. of Educ., Sch. Dist. No. 205, 90 F.3d 1307, 1312 (7th Cir. 1996).

        20.     Plaintiff’s attorney Mario Kasalo’s practice consists largely of contingent-fee

FDCPA litigation, thus the “next best method” of determining a reasonable hourly rate should be

applied. This requires courts to look to what other courts have previously awarded in fees in

similar cases and to consider affidavits from other attorneys in the relevant market of comparable

skill, experience, and reputation describing their hourly rates.

        21.     In this case, Kasalo billed an hourly rate of $400 for work performed up to

December 31, 2018, and billed an hourly rate of $425 thereafter. Notably, attorney Kasalo has

billed the hourly rate of $400.00 in FDCPA cases since November 1, 2015, and only raised it to



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$425 on January 1, 2019 after over three years at a $400.00 hourly rate. Attorney Kasalo’s

hourly rate is supported by the fact that he has been practicing consumer law for over 11 years,

having filed and resolved over 320 FDCPA cases in this District and others since 2007—both for

individual and class claims. (Exhibit B, Declaration of Mario Kasalo). Attorney Kasalo’s hourly

rate of $400 has been approved in the following similar FDCPA cases: Amy Gregory v. Arthur B.

Adler & Associates, Ltd., Case No, 12cv7351 (J. Norgle) where judgment was entered in favor of

the plaintiff in that case after a jury trial was held in the United States District Court, Northern

District of Illinois, Eastern Division, (Dkt.# 119 in Case # 12cv7351); Ana Cruz v. NCEP, LLC,

Case No. 15cv9282, (Dkt. #62, 63 in Case # 15cv9282, N.D. Ill.); Elseweifi v. Cedars Financial,

Case No. 16cv8684, N.D. Ill. (Dkt. #14-16); Jane Bishop Lillegard v. Unifund CCR, LLC et al,

Case No, 16-cv-8075 (J. Lee, N.D. Ill.) (Dkt.#125, 128); Lill v. Kovitz Shifrin Nesbit, Case No.

14-cv-2647 (N.D.IL) (Dkt. #138). (Exhibit B, Declaration of Mario Kasalo). As attorney

Kasalo’s previous $400 hourly rate has been approved by multiple Judges in this District for the

very same type of work performed herein, the rate is reasonable and should be awarded.

       22.     With respect to attorney Kasalo’s most recent hourly rate of $425 billed for work

performed after December 31, 2018, this rate is similarly reasonable and should be applied, as

Kasalo raised his hourly rate by merely $25.00 after having billed a rate of $400.00 for over

three years prior to the increase. As Kasalo’s reputation, ability and skill in connection with

litigation of FDCPA cases has increased substantially during the course of the 67 FDCPA cases

he filed and/or litigated on behalf of consumers between his last hourly rate increase on

November 1, 2015, and January 1, 2019, this increase is justified. See Fox ex rel. Fox v. Barnes,

2013 U.S. Dist. LEXIS 115280, 2013 WL 4401802, at *3 (N.D. Ill. Aug. 15, 2013) (stating

“Indeed, hourly fees often increase over time, both because of inflation and because of the



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increasing skill and reputation of the attorney. . . .”); See also Farooq v. Portfolio Recovery,

LLC, No. 15 C 6106, 2016 U.S. Dist. LEXIS 66180, at *7-8 (N.D. Ill. May 19, 2016) (same).

       23.     As stated, this court should also consider affidavits from other attorneys in the

relevant market of comparable skill, experience, and reputation describing their hourly rates.

Soleau, 2011 WL 2415008, at *2. As evidenced by the Declarations of Michael J. Wood and

Mohammed Badwan, Kasalo’s hourly rates of $400.00 and $425.00 that have been billed in

connection with Plaintiff’s Motion to Compel are consistent with the hourly rates charged by

attorneys in this District for comparable work in FDCPA cases. (Exhibit B, Declaration of

Mario Kasalo; Exhibit C, Declaration of Michael Wood; Exhibit D, Declaration of Mohammed

Badwan).

B.     The Hours Expended and Costs Incurred by Plaintiff’s Counsel are Reasonable

       24.     In calculating an attorneys’ fee award, the “most useful starting point for

determining the amount of a reasonable fee is the number of hours reasonably expended on the

litigation multiplied by a reasonable hourly rate.” Tolentino v. Friedman, 46 F.3d 645, 652 (7th

Cir. 1995) (quoting Hensley v. Eckerhart, 461 U.S. 424, 433, 76 L. Ed. 2d 40,103 S. Ct. 1933

(1983)).

       25.     Moreover, Plaintiff is entitled to recover the fees and costs associated with

preparing the briefs relating to the instant request for fees. Holmstrom v. Metro. Life Ins., Co.,

No. 07-CV-6044, 2011 U.S. Dist. LEXIS 58766, 2011 WL 2149353, at *8 (N.D. Ill. May 31,

2011) (citing Bond v. Stanton, 630 F.2d 1231, 1235 (7th Cir. 1980).

       26.     Notably, in this case, the Court held that each discovery request served by

Plaintiff that Defendant objected to and/or refused to provide was for information and/or

documents held by the Court to be discoverable, and the Court noted that “Some of the



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arguments in opposition, quite frankly, border on the frivolous.” (Exhibit A, Transcript of

hearing held on January 23, 2019, p. 3, l. 13-17).

       27.     The reasonableness of Plaintiff’s attorney fees and costs are supported by

Kasalo’s Declaration and attachment submitted herewith. (Exhibit B, Declaration of Mario

Kasalo). The reasonableness of Plaintiff’s attorney fees and costs is also supported by the

Declarations of attorneys Wood and Badwan, attached as Exhibits C and D, respectively.

       28.     Plaintiff incurred $66.55 in costs (Exhibit A, Transcript of hearing held on

January 23, 2019, See Invoice attached thereto) and Plaintiff’s counsel billed fees in the amount

of $10,290.00, all reasonably incurred in obtaining and resolving the Order granting Plaintiff’s

Motion to Compel on entered on January 23, 2019. (Dkt. #53) (Exhibit B, Declaration of Mario

Kasalo). The amount of $10,356.55 thus reflects the total amount of attorney fees and costs

incurred and sought.

       WHEREFORE, Plaintiff respectfully requests that this Court enter an Order that

Defendant Resurgence Legal Group, PC pay Plaintiff $10,356.55 in reasonably incurred costs

and attorney fees, and for all other just and proper relief.

                                               Respectfully submitted,

                                               Ioan Sas,

                                               By: /s/ Mario Kris Kasalo
                                               Attorney for Plaintiff


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                                 CERTIFICATE OF SERVICE

        I, Mario Kris Kasalo, an attorney, hereby certify that on February 6, 2019, I electronically

filed the foregoing document using the CM/ECF system, which will send notification of such filing

to all attorneys of record.


 Dated: February 6, 2019                             Respectfully submitted,


                                                        By: /s/ Mario Kris Kasalo
                                                        Mario Kris Kasalo




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